                       Case 08-13141-BLS              Doc 5473-2         Filed 08/23/10         Page 1 of 1

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